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               Exhibit L
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                                                                        SALARY TABLE 2017-DCB
                       INCORPORATING THE 1% GENERAL SCHEDULE INCREASE AND A LOCALITY PAYMENT OF 27.10%
                          FOR THE LOCALITY PAY AREA OF WASHINGTON-BALTIMORE-ARLINGTON, DC-MD-VA-WV-PA
                                                                        TOTAL INCREASE: 2.88%
                                                                       EFFECTIVE JANUARY 2017

                                                               Hourly Basic (B) Rates by Grade and Step
                                           Hourly Title 5 Overtime (O) Rates for FLSA-Exempt Employees by Grade and Step

   Grade            B/O         Step 1         Step 2         Step 3         Step 4           Step 5     Step 6     Step 7        Step 8         Step 9       Step 10
      1              B        $ 11.28        $ 11.66        $ 12.04        $ 12.41          $ 12.78    $ 13.00    $ 13.37       $ 13.75        $ 13.76       $ 14.11
                     O          16.92          17.49          18.06          18.62            19.17      19.50      20.06         20.63          20.64         21.17
      2              B          12.69          12.99          13.41          13.76            13.92      14.33      14.74         15.15          15.55         15.96
                     O          19.04          19.49          20.12          20.64            20.88      21.50      22.11         22.73          23.33         23.94
      3              B          13.84          14.30          14.76          15.23            15.69      16.15      16.61         17.07          17.53         18.00
                     O          20.76          21.45          22.14          22.85            23.54      24.23      24.92         25.61          26.30         27.00
      4              B          15.54          16.06          16.57          17.09            17.61      18.13      18.64         19.16          19.68         20.20
                     O          23.31          24.09          24.86          25.64            26.42      27.20      27.96         28.74          29.52         30.30
      5              B          17.38          17.96          18.54          19.12            19.70      20.28      20.86         21.44          22.02         22.60
                     O          26.07          26.94          27.81          28.68            29.55      30.42      31.29         32.16          33.03         33.90
      6              B          19.38          20.02          20.67          21.32            21.96      22.61      23.25         23.90          24.55         25.19
                     O          29.07          30.03          31.01          31.98            32.94      33.92      34.88         35.85          36.83         37.79
      7              B          21.53          22.25          22.97          23.69            24.41      25.12      25.84         26.56          27.28         28.00
                     O          32.30          33.38          34.46          35.54            36.62      37.68      38.76         39.84          40.92         42.00
      8              B          23.85          24.64          25.44          26.23            27.03      27.82      28.62         29.41          30.21         31.00
                     O          35.78          36.96          38.16          39.35            40.55      41.73      42.93         43.52          43.52         43.52
      9              B          26.34          27.22          28.10          28.97            29.85      30.73      31.61         32.49          33.37         34.24
                     O          39.51          40.83          42.15          43.46            43.52      43.52      43.52         43.52          43.52         43.52
      10             B          29.01          29.97          30.94          31.91            32.88      33.84      34.81         35.78          36.74         37.71
                     O          43.52          43.52          43.52          43.52            43.52      43.52      43.52         43.52          43.52         43.52
      11             B          31.87          32.93          33.99          35.06            36.12      37.18      38.24         39.30          40.37         41.43
                     O          43.52          43.52          43.52          43.52            43.52      43.52      43.52         43.52          43.52         43.52
      12             B          38.20          39.47          40.75          42.02            43.29      44.57      45.84         47.11          48.39         49.66
                     O          43.52          43.52          43.52          43.52            43.52      44.57      45.84         47.11          48.39         49.66
      13             B          45.42          46.94          48.45          49.96            51.48      52.99      54.51         56.02          57.53         59.05
                     O          45.42          46.94          48.45          49.96            51.48      52.99      54.51         56.02          57.53         59.05
      14             B          53.68          55.46          57.25          59.04            60.83      62.62      64.41         66.20          67.99         69.78
                     O          53.68          55.46          57.25          59.04            60.83      62.62      64.41         66.20          67.99         69.78
      15             B          63.14          65.24          67.35          69.45            71.56      73.66      75.77         77.58          77.58         77.58
                     O          63.14          65.24          67.35          69.45            71.56      73.66      75.77         77.58          77.58         77.58

* Rate limited to the rate for level IV of the Executive Schedule (5 U.S.C. 5304 (g)(1)).




Applicable locations are shown on the 2017 Locality Pay Area Definitions page: http://www.opm.gov/policy-data-oversight/pay-leave/salaries-wages/2017/locality-pay-area-
definitions/
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                                                                        SALARY TABLE 2017-ATL
                       INCORPORATING THE 1% GENERAL SCHEDULE INCREASE AND A LOCALITY PAYMENT OF 20.70%
                       FOR THE LOCALITY PAY AREA OF ATLANTA--ATHENS-CLARKE COUNTY--SANDY SPRINGS, GA-AL
                                                                        TOTAL INCREASE: 1.95%
                                                                       EFFECTIVE JANUARY 2017

                                                               Hourly Basic (B) Rates by Grade and Step
                                           Hourly Title 5 Overtime (O) Rates for FLSA-Exempt Employees by Grade and Step

   Grade            B/O         Step 1         Step 2         Step 3         Step 4           Step 5     Step 6     Step 7        Step 8         Step 9       Step 10
      1              B        $ 10.71        $ 11.07        $ 11.43        $ 11.78          $ 12.14    $ 12.35    $ 12.70       $ 13.06        $ 13.07       $ 13.40
                     O          16.07          16.61          17.15          17.67            18.21      18.53      19.05         19.59          19.61         20.10
      2              B          12.05          12.33          12.73          13.07            13.22      13.61      13.99         14.38          14.77         15.16
                     O          18.08          18.50          19.10          19.61            19.83      20.42      20.99         21.57          22.16         22.74
      3              B          13.14          13.58          14.02          14.46            14.90      15.34      15.77         16.21          16.65         17.09
                     O          19.71          20.37          21.03          21.69            22.35      23.01      23.66         24.32          24.98         25.64
      4              B          14.76          15.25          15.74          16.23            16.72      17.21      17.71         18.20          18.69         19.18
                     O          22.14          22.88          23.61          24.35            25.08      25.82      26.57         27.30          28.04         28.77
      5              B          16.51          17.06          17.61          18.16            18.71      19.26      19.81         20.36          20.91         21.46
                     O          24.77          25.59          26.42          27.24            28.07      28.89      29.72         30.54          31.37         32.19
      6              B          18.40          19.02          19.63          20.24            20.86      21.47      22.08         22.70          23.31         23.92
                     O          27.60          28.53          29.45          30.36            31.29      32.21      33.12         34.05          34.97         35.88
      7              B          20.45          21.13          21.81          22.49            23.18      23.86      24.54         25.22          25.90         26.59
                     O          30.68          31.70          32.72          33.74            34.77      35.79      36.81         37.83          38.85         39.89
      8              B          22.65          23.40          24.16          24.91            25.67      26.42      27.18         27.93          28.69         29.44
                     O          33.98          35.10          36.24          37.37            38.51      39.63      40.77         41.33          41.33         41.33
      9              B          25.01          25.85          26.68          27.52            28.35      29.18      30.02         30.85          31.69         32.52
                     O          37.52          38.78          40.02          41.28            41.33      41.33      41.33         41.33          41.33         41.33
      10             B          27.55          28.46          29.38          30.30            31.22      32.14      33.06         33.98          34.89         35.81
                     O          41.33          41.33          41.33          41.33            41.33      41.33      41.33         41.33          41.33         41.33
      11             B          30.26          31.27          32.28          33.29            34.30      35.31      36.32         37.32          38.33         39.34
                     O          41.33          41.33          41.33          41.33            41.33      41.33      41.33         41.33          41.33         41.33
      12             B          36.27          37.48          38.69          39.90            41.11      42.32      43.53         44.74          45.95         47.16
                     O          41.33          41.33          41.33          41.33            41.33      42.32      43.53         44.74          45.95         47.16
      13             B          43.14          44.57          46.01          47.45            48.89      50.32      51.76         53.20          54.64         56.07
                     O          43.14          44.57          46.01          47.45            48.89      50.32      51.76         53.20          54.64         56.07
      14             B          50.97          52.67          54.37          56.07            57.77      59.47      61.17         62.87          64.57         66.27
                     O          50.97          52.67          54.37          56.07            57.77      59.47      61.17         62.87          64.57         66.27
      15             B          59.96          61.96          63.96          65.95            67.95      69.95      71.95         73.95          75.95         77.58
                     O          59.96          61.96          63.96          65.95            67.95      69.95      71.95         73.95          75.95         77.58

* Rate limited to the rate for level IV of the Executive Schedule (5 U.S.C. 5304 (g)(1)).




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definitions/
